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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA

  RENATA SINGLETON,
  MARC MITCHELL,
  LAZONIA BAHAM,
  JANE DOE,
  TIFFANY LACROIX,
  FAYONA BAILEY,
  JOHN ROE, and                                 CIVIL ACTION NO. 2:17-cv-10721
  SILENCE IS VIOLENCE,

         Plaintiffs,                            JUDGE: JANE TRICHE MILAZZO

             v.
                                                MAGISTRATE: JANIS VAN MEERVELD
  LEON CANNIZZARO, in his official
  capacity as District Attorney of Orleans
  Parish and in his individual capacity;

  DAVID PIPES,
  IAIN DOVER,
  JASON NAPOLI,
  ARTHUR MITCHELL,
  TIFFANY TUCKER,
  MICHAEL TRUMMEL,
  MATTHEW HAMILTON,
  INGA PETROVICH,
  LAURA RODRIGUE,
  SARAH DAWKINS, and
  JOHN DOE,
  in their individual capacities;

         Defendants.
                     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’
                  MOTION TO STAY OFFICIAL CAPACITY CLAIMS AND
                    CLAIMS AGAINST INDIVIDUAL DEFENDANTS
                             FOR INJUNCTIVE RELIEF

       Defendants are not entitled to a stay of the official capacity claims and injunctive relief

claims in this case. That is because Defendants’ interlocutory appeal applies to only one dimension

of this case—whether certain Individual Defendants can overcome this Court’s denial of absolute



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immunity on claims seeking monetary damages. The bulk of Plaintiffs’ claims—those seeking

injunctive relief and those against Defendant Cannizzaro in his official capacity—are not subject

to interlocutory appeal. Defendants1 assert that the Fifth Circuit has automatic pendant jurisdiction

over the otherwise unappealable claims, but binding case law directly rejects that contention. E.g.,

Cutler v. Stephen F. Austin State Univ., 767 F.3d 462, 468 (5th Cir. 2014) (noting that courts

should be “especially wary of granting jurisdiction” under circumstances like these “for fear of

‘allowing parties to parlay . . . collateral orders into multi-issue interlocutory appeal tickets’”)

(quoting Swint v. Chambers Cty. Comm’n, 514 U.S. 35, 49-50 (1995)). This Court therefore retains

jurisdiction over them and should allow discovery to proceed.

        This Court has every reason to permit discovery on the unappealable claims. The Fifth

Circuit’s answer to the absolute immunity question will have little effect on Plaintiffs’ overall

discovery plan. Regardless of whether or not Defendants win their appeal, Plaintiffs will seek to

establish that, through its practices, “the Orleans Parish District Attorney’s Office unlawfully

compelled victims and witnesses of crimes to cooperate with prosecutors.” Order, Doc. 116, at 1.

To do that, Plaintiffs will need discovery concerning the creation, implementation, and effect of

Defendants’ policies and practices.

        By its recent Order, this Court has already found that Plaintiffs are entitled to pursue their

claims against the official capacity defendant and against some individually named defendants for

injunctive relief. A stay would thus not shield Defendants from discovery—one of the primary

purposes of absolute immunity—because discovery will proceed even should the Fifth Circuit find

that immunity applies. In their “Motion to Confirm a Stay,” Doc. 121, Defendants provide no



1
 “Defendants” refers to both the official capacity Defendant and those sued in their individual capacities.
“Individual Defendants” refers only to those sued in their individual capacities.

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substantive argument that suggests delaying discovery on these important matters is either

necessary or prudent. Delaying discovery will not serve the interests of efficiency or justice, or the

concerns underlying the absolute immunity doctrine, and Defendants have said nothing that

suggests otherwise. Instead, delay will permit Defendants to continue unabated their corrupt and

nefarious practices that “shock the conscience,” Doc. 116 at 26, for the months or even years it

may take for an appeal to be decided.

    I.       Relevant Background

          Plaintiffs filed the Second Amended Complaint in this action in January 2018, bringing

claims against Defendant Leon Cannizzaro, in his official capacity, and several individual

prosecutors for the creation and use of fraudulent subpoenas and the abuse of material witness

warrants. On March 1, 2018, Defendants filed a motion to dismiss. After this Court ruled on

Defendants’ motion on February 28, 2019, three broad categories of claims survived: (1) claims

against Individual Defendants for damages; (2) claims against Individual Defendants for injunctive

relief; and (3) official capacity claims for both damages and injunctive relief.2

          Defendants then filed a broad notice of appeal of the February 28 order, suggesting that

they are entitled to appeal the Court’s entire ruling now. Based on that apparent belief, Defendants

contend that the entire case is “automatically stayed.” Mem. in Support of Defs.’ Mot. for Stay,

Doc. 121-1, at 3.




2
 As this Court outlined in its Order, official capacity claims remain on Counts I, II, III, V, VI, VII, VIII,
and IX. See Doc. 116 at 51-52. Claims for injunctive relief against certain individual defendants remain
on Counts I, III, VI, VII, VIII, and IX. Claims against certain individual defendants for damages remain
on Counts VI, VII, and IX. By listing the Court’s rulings on Plaintiffs’ claims in this footnote, Plaintiffs
do not waive their rights to later contest or clarify those rulings.

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    II.      The Scope of Defendants’ Interlocutory Appeal Includes Only the Court’s
             Immunity Rulings

          Defendants seem to believe they are entitled to an “automatic stay” because they seek to

appeal this Court’s entire Order. Doc. 121-1 at 3. But although an interlocutory appeal is available

to challenge denials of qualified and absolute immunity, Mitchell v. Forsyth, 472 U.S. 511, 525-

28 (1985), it is not available for “mere defense[s] to liability,” Swint, 514 U.S. at 42. This Court

did not deny Defendants qualified immunity on any of the claims for which they asserted it. Doc.

116 at 18-26. Therefore, Defendants’ interlocutory appeal could only apply to one aspect of the

Court’s multifaceted ruling: the Court’s determination that Individual Defendants are not

absolutely immune from damages related to the creation and use of fraudulent subpoenas. Doc.

116 at 10-14.

          The Court’s absolute immunity determination—and, correspondingly, Defendants’

interlocutory appeal—is separate from the official capacity claims in this case, as both Defendants

and this Court have recognized. Doc 121-1 at 2 (“Mr. Cannizzaro did not assert absolute or

qualified immunity with respect to the claims against him in his official capacity.”); accord Doc.

116 at 9 (“[A]bsolute immunity only protects individuals from claims for damages.”). It is also

separate from the claims against Individual Defendants for injunctive relief, an issue that

Defendants do not even attempt to address in their motion.3 Because the official capacity and

injunctive relief claims cannot be properly appealed now—and will thus be litigated regardless of

whether Defendants’ limited appeal succeeds or fails—there is no reason to delay discovery on

them.



3
 Indeed, absolute immunity is wholly unavailable for both official capacity claims, Burge v. Par. of St.
Tammany, 187 F.3d 452, 466-67 (5th Cir. 1999), and claims for prospective relief, Valley v. Rapides Par.
Sch. Bd., 118 F.3d 1047, 1051 n.1 (5th Cir. 1997).


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        A. Plaintiffs’ Official Capacity Claims Are Not Subject to an Automatic
           Interlocutory Appeal

        No doubt aware that blackletter law limits their interlocutory appeal to the narrow question

of absolute immunity, Defendants invoke a rare exception. They contend, without explanation,

that the Fifth Circuit has pendant jurisdiction over Plaintiffs’ official capacity claims. Doc. 121-1

at 2. But such jurisdiction is exceedingly narrow; it is exercised only in “rare and unique

circumstances where a final appealable order is ‘inextricably intertwined’ with an unappealable

order.” Anderson v. Valdez, 845 F.3d 580, 589 (5th Cir. 2016) (internal quotation marks omitted);

see also McKee v. City of Rockwall, Tex., 877 F.2d 409, 413 (5th Cir. 1989) (“[P]endant

interlocutory appellate jurisdiction over additional issues is looked upon with disfavor, and must

not be invoked merely out of convenience to the litigants, or even to th[e] court.”) (internal

quotation marks omitted). It is unlikely that the Court of Appeals will apply this limited exception

here, where the underlying factual and legal issues for the two categories of claims are quite

distinct.

        To determine whether claims are “inextricably intertwined,” the Fifth Circuit looks to

whether each claim has “unique elements and relevant facts” and was “considered separately by

the district court.” Gros v. City of Grand Prairie, 209 F.3d 431, 437 (5th Cir. 2000). When applying

this test to an individual capacity immunity defense, the Fifth Circuit has declined to assert pendant

jurisdiction over related official capacity claims. For example, in Cutler v. Stephen F. Austin State

University, the court held that the claims were not “inextricably intertwined” because the

defendants there had to “prove a different set of facts to show that they are not liable as final

decisionmakers” for Monell purposes “than they must prove to show they enjoy qualified

immunity from suit.” 767 F.3d 462, 468 (5th Cir. 2014). The Court further held that asserting

“jurisdiction would not serve the interests of judicial economy, because common factual and legal

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issues will not necessarily be resolved by the qualified-immunity appeal” and warned that courts

“should be especially wary of granting jurisdiction here for fear of allowing parties to ‘parlay

collateral orders into multi-issue interlocutory appeal tickets.’” Id. (quoting Swint, 514 U.S. at 49-

50); see also Swint, 514 U.S. at 50-51 (rejecting pendant jurisdiction over an official capacity claim

because it was not “inextricably intertwined” with the appealable issue of whether individual

defendants had qualified immunity); Hill v. City of Seven Points, 31 F. App’x 835, 2002 WL

243261 *7 (5th Cir. 2002) (finding claims not to be “inextricably intertwined” because “qualified

immunity . . . turns on whether [the plaintiff] ha[d] alleged the violation of a clearly established

constitutional right and whether Defendants’ conduct was objectively unreasonable in light of

clearly established law,” whereas “[s]overeign immunity … turns on whether [the plaintiff] ha[d]

established a constitutional deprivation resulting from an official policy or custom of the City”).

        Here, the absolute immunity and official capacity claims turn on separate elements and

numerous unique facts. Absolute immunity involves a single narrow question: whether the

individual’s challenged conduct was prosecutorial in nature. See Loupe v. O’Bannon, 824 F.3d

534, 538-39 (5th Cir. 2016) (describing “functional approach”). By contrast, Plaintiffs’ official

capacity claims “require proof of three elements: a policymaker; an official policy; and a violation

of constitutional rights whose ‘moving force’ is the policy or custom.” Piotrowski v. City of

Houston, 237 F.3d 567, 578 (5th Cir. 2001) (quoting Monell v. Dep’t of Social Services, 436 U.S.

658, 694 (1978)).4 These inquiries are distinct, as evidenced by the fact that the Court’s Order

addressed each separately and at length. See Doc. 116, at 7-17 (absolute immunity); id. at 26-45

(the merits of Plaintiffs’ claims).



4
  The only Monell element Defendants challenged in their motion to dismiss was whether there was an
underlying constitutional violation. Accordingly, this Court did not address the other Monell elements in
its Order. See Doc. 116 at 26-45 (addressing the official capacity claims).

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         Indeed, because this case involves absolute immunity, the application of the “inextricably

intertwined” exception is even less appropriate here than it would have been in Cutler, which

involved qualified immunity. Absolute immunity is about the function served by the prosecutor;

the legality of the conduct is not at issue. A qualified immunity analysis, however, invites

consideration of the underlying merits, as it turns on whether a defendant’s conduct was

objectively unreasonable in light of clearly established law at the time of that conduct. See Kinney

v. Weaver, 367 F.3d 337, 367 (5th Cir. 2004).5 Thus, there is far less basis to conclude that absolute

immunity is intertwined with the merits than there is when qualified immunity is at issue. For the

same reason, the cases Defendants cite in support of their motion—all of which involve qualified,

rather than absolute, immunity—are distinguishable from this case. See Doc. 121-1 at 2-3 (citing

Carty v. Rodriguez, 211 F. App’x 292 (5th Cir. 2006), Bosarge v. Miss. Bureau of Narcotics, 796

F.3d 439 (5th Cir. 2015), Pollard v. City of Columbus, 780 F.3d 395, 401 (6th Cir. 2015), and

Roberts v. City of Omaha, 723 F.3d 966, 975-76 (8th Cir. 2013)).


         B. Plaintiffs’ Claims Against Individual Defendants for Injunctive Relief Are Not
            Subject to Interlocutory Appeal

         In addition to the claims for damages, several Individual Defendants face claims for

injunctive relief. The absolute immunity question is as irrelevant to these claims as it is to the

official capacity claims. See Valley v. Rapides Par. Sch. Bd., 118 F.3d 1047, 1051 n.1 (5th Cir.

1997) (explaining that absolute immunity is unavailable for claims for prospective relief); Doc.

116 at 9 (noting that absolute immunity does not “bar claims against the Individual Defendants for


5
  Under Pearson v. Callahan, 555 U.S. 223 (2009), courts examining qualified immunity need not decide whether
the facts alleged make out a constitutional violation if the court first determines that the right at issue was not
“clearly established” at the time of the defendant’s conduct. Even so, the Supreme Court recognized that it was
“often beneficial” to do so, noting that “the two-step procedure promotes the development of constitutional
precedent and is especially valuable with respect to questions that do not frequently arise in cases in which a
qualified immunity defense is unavailable.” Id. at 236.


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injunctive relief”). Moreover, other than Defendants’ blanket contention that this entire case “has

been automatically stayed,” Defendants make no attempt to argue that the appellate court has

pendant jurisdiction over the claims against Individual Defendants for injunctive relief. Doc. 121-

1 at 3.

           Nor could they: absolute immunity claims and claims against individuals for injunctive

relief have “unique elements and relevant facts.” Gros, 209 F.3d at 437. As noted above, absolute

immunity turns solely on the factual question of whether a defendant’s past conduct was

prosecutorial in nature. See Loupe, 824 F.3d at 539; Doc. 116, at 8-9. Whether it applies has

nothing to do with the merits of the underlying claim. Claims against individuals for injunctive

relief, however, turn on the merits. Doc. 116 at 26-45. These separate inquiries require distinct

analysis based on separate facts; they are not “inextricably intertwined.” Gros, 209 F.3d at 437.

    III.      This Court Should Not Stay Discovery

           Based on the flawed premise that their interlocutory appeal extends to the whole case,

Defendants assert that this “Court is without jurisdiction to proceed” until the appeal concludes.

Doc. 121-1 at 3. No law supports this. As the Fifth Circuit has explained, “[a] notice of appeal

from an interlocutory order does not produce a complete divestiture of the district court’s

jurisdiction over the case.” Alice L. v. Dusek, 492 F. 3d 563, 564 (5th Cir. 2007). Instead, it divests

the district court of jurisdiction only over those aspects of the case subject to appeal. Id. And

“where an appeal is allowed from an interlocutory order, the district court may still proceed with

matters not involved in the appeal.” Id. at 564-65 (internal quotation marks omitted); Weingarten

Realty Inv'rs v. Miller, 661 F.3d 904, 908 (5th Cir. 2011) (“Although appeals transfer jurisdiction

from the district court to the appellate court concerning those aspects of the case involved in the

appeal, the district court is nonetheless free to adjudicate matters that are not involved in that

appeal.”).
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       In Dusek, the Fifth Circuit held that discovery on plaintiff’s Title IX claims could proceed

despite an interlocutory appeal of the district court’s denial of qualified immunity for the § 1983

claims, because the “the claims [were] legally distinct” and the defendant “[could not] assert

qualified immunity from the Title IX claim.” 492 F. 3d at 564. Adhering to that principle, courts

within this circuit have repeatedly found that an immediate appeal of immunity issues does not

stay unrelated claims. See, e.g., Stumpf v. City of Dallas, No. 3:15-CV-1944-N, 2016 WL

10749149, at *1–2 (N.D. Tex. May 25, 2016) (permitting discovery to proceed on claims against

the City despite another defendant’s appeal of denial of qualified immunity); Saenz v. City of El

Paso, Tex., No. EP-14-CV-244-PRM, 2015 WL 4590309, at *4 (W.D. Tex. Jan. 26, 2015)

(denying motion to stay all discovery based on defendant’s appeal of qualified immunity denial);

Harris v. City of Balch Springs, 33 F. Supp. 3d 730, 33 (N.D. Tex. 2014) (“Discovery may proceed

on those claims that are legally distinct and for which a party may not assert the defense of qualified

immunity.”).

       As noted, neither the official capacity claims nor the injunctive claims against Individual

Defendants are eligible for interlocutory appeal. This Court thus retains jurisdiction over them.

Therefore, whether to stay these claims is within the discretion of this Court based on

considerations of efficiency and fairness. See Air Line Pilots Ass’n v. Miller, 523 U.S. 866, 879

n.6 (1998) (observing that in deciding a stay motion, courts “must weigh competing interests and

maintain an even balance”). In this case, there is no reason to stay the unappealable claims because

Plaintiffs will seek the same types of discovery regardless of whether the Fifth Circuit affirms or

vacates the Court’s absolute immunity findings. That is, should the Defendants win on appeal, they

will still be subject to the very discovery Plaintiffs would be seeking now and, thus, no efficiency

interest is served by delay.



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       For example, to pursue the official capacity claims, Plaintiffs will seek evidence that an

official policy caused violations of their constitutional rights. See Monell, 436 U.S. at 694. And to

prove that an official policy existed for each claim, Plaintiffs will seek evidence that the challenged

conduct was widespread and systemic, and that it was routinely carried out by prosecutors at every

level of the Orleans Parish District Attorney’s Office. See Connick v. Thompson, 563 U.S. 51, 61

(2011) (observing that an official policy includes “practices so persistent and widespread as to

practically have the force of law”). Each Individual Defendant’s conduct is part of the pattern

Plaintiffs seek to prove and, accordingly, Plaintiffs will inevitably seek discovery about their

actions. As such, the discovery Plaintiffs will seek for the official capacity claims looks largely

the same whether or not the Individual Defendants are shielded from damages by absolute

immunity.

       Similarly, Plaintiffs will seek the same discovery for the claims against the Individual

Defendants for injunctive relief regardless of how the Fifth Circuit rules on absolute immunity. To

demonstrate either that damages or an injunction is warranted, Plaintiffs will need to examine the

past conduct of Individual Defendants. And the claims against Individual Defendants for injunctive

relief will proceed independent of whether the claims against them for damages proceed.

Therefore, those defendants will not avoid discovery by virtue of a favorable outcome on

interlocutory appeal. A stay of these claims would serve no purpose aside from needless and

prejudicial delay. See Harris, 33 F. Supp. 3d at 734 (“Waiting to allow discovery on issues not

related to qualified immunity unnecessarily delays resolution of this case.”); Saenz, 2015 WL

4590309, at *4-5 (noting risks inherent in delaying discovery).

       In sum, Plaintiffs’ discovery plan does not turn on whether damages are available for

certain Individual Defendants. In any scenario, Plaintiffs will depose Individual Defendants and



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other witnesses about the nature and scope of Defendants’ past conduct; Plaintiffs will request

documents concerning Defendants’ prosecutorial practices and decisions; and Plaintiffs will seek

to uncover as much as possible about the causes and human costs of such practices. None of that

discovery overlaps with the legal analysis of whether Plaintiffs’ allegations of Individual

Defendants’ behavior describe prosecutorial or investigative duties, i.e., the immunities issues that

will be on appeal. Given the Court’s Order and the necessarily limited scope of Defendants’ appeal,

Plaintiffs are entitled to such discovery. There is no reason to delay it.

    IV.      Conclusion

          For the foregoing reasons, Plaintiffs respectfully request that this Court deny Defendants’

motion to stay the official capacity claims and claims against Individual Defendants for injunctive

relief.

                                Respectfully submitted this 2nd day of April, 2019,



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